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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS

DAWN MEEGAN, individually and on           )
behalf of all others similarly situated,   )
                                           )
               Plaintiff,                  )
                                           )    Case No. 1:20-cv-00465
       v.                                  )
                                           )    Hon. Thomas M. Durkin
NFI INDUSTRIES, INC.,                      )
                                           )
               Defendant.                  )

   PLAINTIFF’S UNOPPOSED MOTION AND MEMORANDUM IN SUPPORT OF
        PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT




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                                        INTRODUCTION

       Plaintiff Dawn Meegan (“Meegan” or “Plaintiff”) brought a putative class action on

December 16, 2019, in the Circuit Court of Cook County against Defendant NFI Industries, Inc.

(“NFI” or “Defendant”), asserting class claims under the Illinois Biometric Information Privacy

Act (“BIPA”), 740 ILCS 14/1, et seq. On January 21, 2020, Defendant filed a Notice of Removal

in the United States District Court for the Northern District of Illinois.

       The Parties have reached a proposed Settlement that provides all Settlement Class

Members with the ability to receive a share of the proposed Settlement Fund. See Settlement

Agreement, attached hereto as Exhibit 1. 1 The Settlement Agreement provides significant relief to

approximately 3,879 current and former persons who worked at NFI and establishes a common

cash settlement fund in the amount of $3,491,100.00, from which Settlement Class Members will

be compensated without having to file claim forms or take any other action. If approved, the

Settlement Agreement will bring certainty, closure, and significant and valuable relief for

individuals to what otherwise would likely be contentious and costly litigation regarding

Defendant’s alleged unlawful collection, use, storage, and dissemination of individuals’ biometric

identifiers and/or biometric information (collectively referred to herein as “biometric data”).

       Plaintiff now seeks preliminary approval of the Settlement, certification of a Settlement

Class, appointment of Class Counsel, and approval of the proposed form and method of Class

Notice. This Motion describes in detail the reasons why preliminary approval is in the best interests

of the Class and is consistent with Rule 23 of the Federal Rules of Civil Procedure. As discussed

in more detail below, the most important consideration in evaluating the fairness of a proposed




1
 Unless otherwise defined herein, all capitalized terms used herein will have the same meaning as
defined in the Settlement Agreement.


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class action settlement is the strength of the plaintiff’s case on the merits balanced against the relief

obtained in the settlement. See Am. Int’l Grp., Inc. et al v. ACE INA Holdings, et al., Nos. 07-cv-

2898, 09-cv-2026, 2012 WL 651727 (N.D. Ill. Feb. 28, 2012). While Plaintiff believes she could

secure class certification and prevail on the merits at trial, success is not guaranteed, particularly

given the uncertainty in the law surrounding BIPA, and that Defendant denies Plaintiff’s

allegations and is prepared to vigorously defend this case. The terms of the Settlement, which

includes a Settlement Fund providing Settlement Class Members the ability to receive meaningful

cash compensation, along with obtaining Defendant’s acknowledgment that it has implemented

procedures to comply with BIPA, meet and exceed the applicable standards of fairness.

Accordingly, the Court should preliminarily approve the Settlement so that Settlement Class

Members can receive notice of their rights and the claims administration process may begin.

                RELEVANT BACKGROUND

                BIPA

        BIPA is an Illinois statute that provides individuals with certain protections for biometric

data covered by the statute. To effectuate its purpose, BIPA requires private entities that seek to

use “biometric identifiers” and “biometric information” to:

                1.      Inform the individual in writing that biometric identifiers and/or biometric

                        information will be collected, stored, used, or disseminated;

                2.      Inform the individual in writing of the specific purpose and length of time

                        for which such biometric identifiers and/or information is being collected,

                        stored, used, and disseminated;




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               3.      Obtain a written release from the individual allowing the capture,

                       collection, storage, use, and dissemination of their biometric identifiers

                       and/or information; and

               4.      Develop and adhere to a publicly available retention schedule and

                       guidelines for permanently destroying biometric identifiers and/or

                       information.

740 ILCS 14/15.

       BIPA was enacted in large part to protect certain individual biometric data, provide

individuals with a means of enforcing their statutory rights, and regulate the practice of collecting,

using, and disseminating such sensitive information.

               Procedural History

       Plaintiff filed her putative Class Action Complaint in the Circuit Court of Cook County on

December 16, 2019, alleging that Defendant utilizes biometric timekeeping devices at its facilities

in Illinois and requires its direct employees and staffed temporary workers to use the devices when

clocking into and out of work but failed to comply with BIPA by: (1) failing to inform individuals

in writing that they will be capturing, collecting, storing, using, and disseminating biometric data

prior to doing so; (2) failing to obtain a written release for the capture of biometric data prior to

such capture; (3) failing to inform individuals in writing of the specific purpose and length of time

for which biometric data is captured; and (4) failing to develop and adhere to a publicly available

retention schedule and guidelines for permanently destroying biometric data.

       On January 21, 2020, Defendant filed a Notice of Removal in the United States District

Court for the Northern District of Illinois (Dkt. No. 1), where it was assigned to and remains

pending before the Hon. Thomas M. Durkin. Defendant moved to dismiss Plaintiff’s Class Action




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Complaint on January 28, 2020, arguing that Plaintiff’s complaint was untimely. The Parties

completed briefing on March 12, 2020, and the Court entered an opinion on June 4, 2020, denying

Defendant’s motion. NFI answered Plaintiff’s Complaint on June 18, 2020.

       In July 2020, Plaintiff issued Rule 26(a)(1) disclosures and her first set of discovery

requests. Defendant moved to stay this matter on September 14, 2020, citing the Illinois Appellate

Court case regarding BIPA’s statute of limitations, Tims v. Black Horse Carriers, Inc., No. 1-20-

0563. After the Parties fully briefed the motion to stay, the Court denied the motion on October 8,

2020, and entered a discovery schedule on October 19, 2020. The Parties engaged in written and

oral discovery, including the production of hundreds of pages of documents, three depositions, and

a subpoena to Kronos Incorporated, Defendant’s third-party biometric timekeeping provider.

Following the completion of discovery, Plaintiff filed and the Parties fully briefed her Motion and

Memorandum in Support of Rule 23 Class Certification. The Court took the motion under

advisement on March 9, 2022.

       On April 28, 022, the Parties jointly moved for a stay of proceedings to explore resolution.

Counsel for the Parties informally exchanged information prior to the mediation, and the Parties

participated in a full-day mediation with Hon. Morton Denlow (Ret.) of JAMS on June 7, 2022.

At the mediation, the Parties were able to enter into an agreement in principle and executed a

Memorandum of Understanding. Following subsequent negotiations throughout June and July

2022, the Parties executed the Settlement Agreement for which the Parties now seek preliminary

approval, attached hereto as Exhibit 1.

               THE PROPOSED SETTLEMENT

               The Settlement Class

       The proposed Settlement would establish a Settlement Class defined as follows:




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        All individuals currently or formerly working at NFI, or any of its subsidiaries or
        affiliates, in the State of Illinois who had their fingerprint data collected, captured,
        received, obtained, maintained, stored, or disclosed between December 16, 2014,
        and November 30, 2018 (“Settlement Class”).

Exhibit 1, ¶ 39. The Parties estimate that the Class size is approximately 3,879 members. Id. ¶ 5.

               The Settlement Fund

        The proposed Settlement will establish a common $3,491,100.00 Settlement Fund. Exhibit

1, ¶¶ 36, 43(a). The Settlement Fund shall be divided among members of the Settlement Class that

do not opt out as follows: $900.00 per Settlement Class Member, less pro rata reductions for Class

Counsel’s Fee Award, Service Award to the Class Representative and Administrative Expenses.

Id. ¶¶ 36, 44. Importantly, Settlement Class Members do not have to submit a claim form or

otherwise “opt in” to the Settlement. Id. ¶ 45. Checks to the Settlement Class Members shall remain

valid and negotiable for 180 days from the date of their issuance, and thereafter shall become void

if not cashed within that time. Id. ¶¶ 46, 51(d). Within 75 days of issuance of settlement checks,

the Settlement Administrator shall provide a list of any settlement checks that are not

cashed/negotiated within 60 days of issuance to Counsel for the Parties. Id. ¶ 51(d). Within 10

days thereafter, the Settlement Administrator shall attempt to confirm or obtain valid mailing

addresses, including by telephone, and send a reminder post-card to affected Class Members.

Id. Additionally, at the conclusion of the 180-day period, the Settlement Administrator shall

provide a list of any settlement checks that are not then cashed/negotiated to Counsel for the

Parties. Id. Within 10 days of the expiration of the 180-day period, the Settlement Administrator

shall transfer such uncashed funds to NFI Cares 2 as a cy pres. Id.



2
   NFI Cares is administered by an independent charitable foundation called Helping
Hands. Helping Hands has no affiliation with NFI and is responsible for reviewing and approving
grants to employees in need. Once Helping Hands approves an applicant, the grant is executed by
another independent entity, the NEMA Foundation, which does business as Provision Bridge. NFI


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               Additional Relief

       The Settlement also provides significant injunctive relief to the Settlement Class.

Specifically, Defendant agreed to provide a declaration attesting that it came into compliance with

BIPA by November 30, 2018. Exhibit 1, ¶ 52.

               Notice and Settlement Administration

       The claims at issue in the Litigation consist of Defendant’s alleged violations of BIPA with

respect to a group of workers, including both NFI’s direct employees and temporary workers

obtained through staffing companies. Accordingly, to reach as many potential Class Members as

possible, the Settlement Administrator will provide individual Notice of the Settlement,

substantially in the form of Exhibit A to the Settlement Agreement, to Class Members via U.S.

Mail and email where Defendant or the relevant staffing company has a last-known mailing and

email address or the mailing address information can be determined by the Settlement

Administrator. Exhibit 1, ¶ 50(b). For all mailings returned as undeliverable, the Settlement

Administrator shall perform a reverse look-up to find updated addresses and will cause the Notice

mailing to be re-mailed to those members of the Settlement Class. Id.

               Exclusion and Objection Procedures

       While the Parties expect little to no opposition, Settlement Class Members will have an

opportunity to exclude themselves from the Settlement or object to its approval. The procedures

and deadlines for filing exclusion requests and objections (see Exhibit 1, § IX) will be identified

in the Notice directly sent to Class Members. The Notice informs Settlement Class Members that




is not involved in making decisions regarding grants or in administering their funding. The
organization exists to provide NFI workers in need with support. The Parties have agreed to restrict
the cy pres so that any funds would only go to Illinois workers. See Exhibit 2, Decl. of JeanMarie
Decker.


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the Final Approval Hearing will be their opportunity to appear and have their objections heard.

The Notice also informs Settlement Class Members that they will be bound by the Release

contained in the Settlement Agreement unless they exercise their right to exclusion in a timely

manner. See Exhibit A to the Settlement Agreement.

               Release

       In exchange for the relief described above, Settlement Class Members who do not exclude

themselves will provide Defendant and the other Released Parties a full release of all claims

relating to the Released Parties which relate to or arise out of the allegations in the Complaint and

which relate in any way to information that is or could be protected under the Illinois Biometric

Information Privacy Act, 740 ILCS 14/1 et seq., or any other similar state, local, or federal law,

regulation, or ordinance, or common law. Exhibit 1, Sec. VII.

               CLASS ACTION SETTLEMENT PROCEDURE

       The well-defined class action settlement procedure includes three distinct steps:

       1.      Preliminary approval of the proposed settlement after submission to the Court of a
               written motion for preliminary approval;

       2.      Dissemination of mailed and/or published notice of settlement to all affected class
               members; and

       3.      A final settlement approval hearing at which class members may be heard
               regarding the settlement, and at which argument concerning the fairness,
               adequacy, and reasonableness of the settlement may be presented.

See Fed. R. Civ. P. 23(e); see also Herbert B. Newberg & Alba Conte, Newberg on Class Actions

(“Newberg”), § 11.22 et seq. (4th ed. 2002). This process safeguards Class Members’ procedural

due process rights and enables the Court to fulfill its role as guardian of Class interests. With this

motion, Plaintiff requests that the Court take the first step – granting preliminary approval of the

Settlement Agreement, approving the proposed Class Notice and ordering its distribution.




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       Plaintiff respectfully proposes that the Court issue an order setting the following schedule

(“Preliminary Approval Order”):

               1.      Class List Dates: Defendant will provide the Settlement Administrator
                       with the Class Member information in its possession within seven days of
                       entry of the Preliminary Approval Order (the “Class List”). Defendant and
                       Class Counsel will work together collaboratively to obtain Class List
                       information from the relevant staffing companies, of which there are 17,
                       and the staffing companies will provide that information either to Defendant
                       or directly to the Settlement Administrator. The Class List shall include: last
                       known name, address, telephone number, e-mail address (where available),
                       and Social Security number for each Settlement Class member to the extent
                       available. The Settlement Administrator will update the Class List using the
                       U.S. Postal Service’s database of verifiable mailing addresses and the
                       National Change-of-Address database.

               2.      Notice Dates: Within 14 days of receipt of the complete Class List,
                       individual Notice shall be sent via US Mail and email (substantially in the
                       form of Exhibit A to the Settlement Agreement). For all mailings returned
                       as undeliverable, the Settlement Administrator shall perform a reverse look-
                       up to find updated addresses and will cause the Notice mailing to be re-
                       mailed to those members of the Settlement Class.

               3.      Deadline for Opt-Outs/Objections: Each opt-out and/or objection must
                       be submitted/postmarked or filed with the Court within 45 days of the date
                       the Notice is mailed.

               4.      Submission of Papers in Support of Attorneys’ Fees and Expenses:
                       Must be filed no later than seven days prior to the date of the Final
                       Approval Hearing.

               5.      Submission of Papers in Support of Final Approval of Settlement:
                       Must be filed no later than seven days prior to the date of the Final
                       Approval Hearing.

               6.      Final Approval Hearing: Will occur approximately 90 days after entry
                       of the Preliminary Approval Order, or such other date as ordered by the
                       Court.

       Once this Court has ruled on the motion for preliminary approval, the deadlines for

providing Notice, opting out of the Settlement, and submitting objections to the proposed

Settlement will begin to run. The schedule set forth below, which is subject to the timing of actions




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to be taken by the Parties and the Court in this case, provides the Court with an approximate

timeline of the various steps in the settlement approval process under the Settlement.

      Event                                             Timing
 1.   Motion for Preliminary Approval Filed
 2.   Counsel to Provide Class List information in      Within 7 Days After Preliminary Approval
      its possession to Settlement Administrator
 3.   Settlement Administrator to Issue Class           Within 14 Days After receipt of the complete
      Notice                                            Class List
 4.   Deadline for Submitting Opting Out or             45 Days After the Issuance of Class Notice by
      Objecting to Settlement                           the Settlement Administrator
 5.   Final Approval Hearing                            Approximately 90 Days After Preliminary
                                                        Approval
 6.   Effective Date                                    The day of Final Judgment, unless the
                                                        settlement is approved over objection, in which
                                                        case the Effective Date will be the first
                                                        business day after the last day of the period for
                                                        appeal of the Final Judgment, or if an appeal
                                                        has been filed, the date on which the appeal is
                                                        final
 7.   Defendant to Fund the Settlement Payment          $3,491,100.00 within 14 days of the entry of
      Amount                                            the Preliminary Approval Order and receipt of
                                                        Settlement Administrator instructions and a
                                                        Form W-9 for the Settlement Administrator
 8.   Settlement Administrator to Distribute            Within 14 Days After Effective Date
      Funds to Class Members

            THE COURT SHOULD PROVISIONALLY CERTIFY THE
       SETTLEMENT CLASS UNDER RULE 23

       “Before addressing the substantive provisions of the Settlement Agreement, the Court must

first determine whether the proposed class can be certified” for settlement purposes. Kaufman v.

American Express Travel Related Servs. Co., Inc., 264 F.R.D. 438, 441-42 (N.D. Ill. 2009)

(citation omitted). Class certification is an exercise of judicial discretion, and “[t]he fact that the

parties have reached a settlement is a relevant consideration in the class-certification analysis.”

Zolkos v. Scriptfleet, Inc., No. 12 Civ. 8230, 2014 WL 7011819, at *1 (N.D. Ill. Dec. 12, 2014),

citing Smith v. Sprint Commc’ns Co., 387 F.3d 612, 614 (7th Cir. 2004); see also Amchem Prods.,

Inc. v. Windsor, 521 U.S. 591, 620 (1997) (“[c]onfronted with a request for settlement-only class


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certification, a district court need not inquire whether the case, if tried, would present intractable

management problems, see Fed. R. Civ. P. 23(b)(3)(D), for the proposal is that there be no trial”).

       For settlement purposes only, the Parties have agreed that the Court should make

preliminary findings and enter an Order granting provisional certification of the Settlement Class

and appoint Plaintiff and her counsel to represent the Class. “The validity of use of a temporary

settlement class is not usually questioned.” Newberg, §11.22. The Manual for Complex Litigation

explains the benefits of settlement classes:

       Settlement classes – cases certified as class actions solely for settlement – can
       provide significant benefits to class members and enable the Defendant to achieve
       final resolution of multiple suits. Settlement classes also permit Defendant to settle
       while preserving the right to contest the propriety and scope of the class allegations
       if the settlement is not approved[.]…An early settlement produces certainty for the
       plaintiffs and Defendant and greatly reduces litigation expenses.

Manual for Complex Litigation (Fourth) § 21.612.

         When presented with a request to preliminarily approve a proposed class settlement, a

 court’s evaluation may be more relaxed than when considering entry of a final order binding all

 class members to the settlement’s terms. Nevertheless, the Court must still determine whether

 the proposed Settlement Class satisfies the requirements of Rule 23. As demonstrated below, no

 reason exists to refrain from provisionally certifying, for settlement purposes, the proposed

 Settlement Class.

         Rule 23(a)(1). The first requirement asks whether the proposed class is so numerous that

 joinder is impracticable. Although the rule provides no firm number, courts have held that

 numerosity can be satisfied where more than 40 putative class members exist. See, e.g., Kurgan

 v. Chiro One Wellness Ctrs. LLC, No. 10 Civ. 1899, 2014 WL 642092, at *5 (N.D. Ill. Feb. 19,

 2014). Here, 3,879 of Defendant’s current and former direct employees and staffed workers

 comprise the putative Rule 23 class. Accordingly, Rule 23(a)(1)’s numerosity requirement is



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met.

         Rule 23(a)(2). The next question is whether there are questions of law or fact common

to the class. “Commonality requires that there be at least one question of law or fact common to

the class.” Barragan v. Evanger’s Dog & Cat Food Co., 259 F.R.D. 330, 334 (N.D. Ill. 2009),

quoting Rosario v. Livaditis, 963 F.2d 1013, 1018 (7th Cir. 1992). A common question may be

shown where claims of individual members are based on the common application of a statute or

where class members are aggrieved by the same or similar conduct. Kurgan, 2014 WL 642092

at *6.

         In this case, all members of the proposed Class share a common statutory BIPA claim

arising out of standardized conduct: the alleged collection, storage, use, and dissemination of

Settlement Class Members’ biometric data without consent. Proving a BIPA violation would

require the resolution of some of the same factual and legal issues, including: (1) whether the

information taken from Settlement Class Members constituted biometric identifiers or biometric

information as defined by BIPA; (2) whether such information was taken without the consent

required under BIPA; (3) whether Defendant had a BIPA-compliant, publicly-available, written

policy addressing retention, storage, and destruction of biometric identifiers and information;

(4) whether such conduct violated BIPA; and (5) whether Defendant’s biometric timekeeping

devices are subject to and/or could comply with the requirements of BIPA.

         Rule 23(a)(3). A “‘plaintiff’s claim is typical if it arises from the same event or practice

or course of conduct that gives rise to the same legal theory.’” Rosario, 963 F. 2d at 1018,

quoting De La Fuente v. Stokely-VanCamp, Inc., 713 F.2d 225, 232 (7th Cir. 1983). Rule 23(a)’s

typicality requirement should be “liberally construed.” Saltzman v. Pella Corp., 257 F.R.D. 471,

479 (N.D. Ill. 2009). So long as “the representative party’s claim arises from the same course of




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conduct that gives rise to the claims of other class members and all of the claims are based on

the same legal theory,” typicality is satisfied. Id. (citation omitted); see also Owner-Operator

Indep. Drivers Ass’n v. Allied Van Lines, Inc., 231 F.R.D. 280, 282 (N.D. Ill. 2005) (typicality

is a “low hurdle” requiring “neither complete coextensivity nor even substantial identity of

claims”). Rule 23(a)(3) “‘primarily directs the district court to focus on whether the named

representatives’ claims have the same essential characteristics as the claims of the class at

large.’” Muro v. Target Corp., 580 F.3d 485, 492 (7th Cir. 2009), quoting De La Fuente, 713

F.2d at 232.

        Plaintiff’s claims are typical of the claims of other Class Members because they arise

from the same course of action by Defendant which applies to all Settlement Class Members:

Defendant’s alleged failure to properly inform Plaintiff and others similarly situated in writing

of the specific purpose and length of time for which their biometric data was collected, stored,

disseminated, and used; the alleged failure to provide a publicly available retention schedule and

guidelines for permanently destroying Plaintiff’s and other similarly-situated individuals’

biometric data; and the alleged failure to obtain written consent prior to collecting, storing, using,

and disseminating Plaintiff’s and Settlement Class Members’ biometric data. While there may

be minute factual differences between claims of the Plaintiff and those of other putative class

members, their claims are nevertheless based on the same legal theory. Moreno v. Napolitano,

No. 11 Civ. 5452, 2014 WL 4911938, at *9 (N.D. Ill. Sept. 30, 2014) (“[S]imilarity of legal

theory may control even in the face of differences of fact”) (internal quotations omitted). Thus,

Plaintiff’s claims are clearly typical of those of the claims of other Class Members.

        Rule 23(a)(4). The requirement that “the representative parties . . . fairly and adequately

protect the interests of the class . . . serves to uncover conflicts of interest between the named




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 parties and the class they seek to represent.” Amchem Prods., 521 U.S. at 625. This requirement

 “tends to merge with the commonality and typicality criteria of Rule 23(a), which serve as

 guideposts for determining . . . whether the named plaintiff’s claim and the class claims are so

 interrelated that the interests of the class members will be fairly and adequately protected in

 their absence.” Id. at 626 n.20. Because of the unique nature of the class action device, “[t]he

 adequacy-of-representation requirement ‘is composed of two parts: the adequacy of the named

 plaintiff’s counsel, and the adequacy of representation provided in protecting the different,

 separate, and distinct interest of the class members.’” In re AT&T Mobility Wireless Data Servs.

 Sales Litig., 270 F.R.D. 330, 343 (N.D. Ill. 2010), quoting Retired Chicago Police Assoc. v. City

 of Chicago, 7 F.3d 584, 598 (7th Cir. 1993) (further internal quotations and citation omitted).

        “A class representative must . . . be part of the class and possess the same interest and

 suffer the same injury as the class members.” In re AT&T Mobility Wireless Servs., 270 F.R.D.

 at 343 (internal quotations and citation omitted). “This requires the district court to ensure that

 there is no inconsistency between the named parties and the class[,] . . . [because a] class is not

 fairly and adequately represented if class members have antagonistic or conflicting claims.” Id.

 (internal quotations and citations omitted).

       The proposed Class Representative, Dawn Meegan, worked at one of Defendant’s facilities

during the class period, and her claims are based on the same alleged BIPA violations as the rest

of the proposed Class. She has shown her commitment to vigorously prosecuting the Action by

assisting Plaintiff’s counsel in preparing the Complaint and maintaining contact with Class

Counsel. Ms. Meegan answered written discovery and sat for a deposition. The proposed Class

Representative has also provided invaluable information and otherwise assisted Class Counsel in

understanding Plaintiff’s claims and Defendant’s defenses. Wilkins, 2015 WL 1234738 at *12




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(adequacy of representation satisfied where Plaintiff demonstrated she was sufficiently interested

in the outcome of the case because she sat for her deposition and responded to written discovery).

This qualifies Plaintiff as a “conscientious representative plaintiff” and satisfies the adequacy of

representation requirement. Robles v. Corporate Receivables, Inc., 220 F.R.D. 306, 314 (N.D. Ill.

2004).

         The Class Representative does not have any interests antagonistic to the Class. Rather, she

has the same interests and has suffered the same damages for Defendant’s alleged BIPA violations

as the proposed class members. Ladegaard v. Hard Rock Concrete Cutters, Inc., No. 00 Civ. 5755,

2000 WL 1774091, at *5-6 (N.D. Ill. Dec. 1, 2000) (no antagonistic interest where plaintiff alleged

same violation and remedy as the rest of the class). Likewise, Class Counsel have fairly and

adequately protected the interests of the Class. Plaintiff’s attorneys are highly experienced and

have successfully acted as representative counsel in numerous complex class actions, in federal

and state courts in the Northern District of Illinois and throughout the United States, including

several successfully resolved and active class actions on behalf of other individuals aggrieved

under BIPA with virtually identical claims. See Exhibit 3, Decl. of Haley R. Jenkins (“Jenkins

Decl.”), Attachment A (Stephan Zouras, LLP Firm Resume). “Plaintiffs’ [C]ounsel have invested

substantial time and resources in this case by investigating the underlying facts, researching the

applicable law, and negotiating a detailed settlement.” In re AT&T Mobility Data Servs., 270

F.R.D. at 344 (citation omitted).

         Class Counsel invested time and resources, including investigating possible claims and

defenses to this case before the Settlement was reached. Indeed, the exchange of information

leading to settlement, and Class Counsel’s independent investigation, as well as arm’s-length

negotiations with Defendant, demonstrate Class Counsel’s pursuit of the interests of the class and




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their determination to avoid even an appearance of collusion with Defendant. See McCue v. MB

Financial, Inc., No. 15 Civ. 0988, 2015 WL 1020348, at *2 (N.D. Ill. Mar. 6, 2015), citing

McKinnie v. JP Morgan Chase Bank, N.A., 678 F. Supp. 2d 806, 813 (E.D. Wis. 2009). In short,

Named Plaintiff and her counsel have demonstrated that they “are fully capable of litigating this

case.” In re Chocolate Confectionary Antitrust Litig., 289 F.R.D. 200, 218 (M.D. Pa. 2012).

Accordingly, the adequacy requirement is satisfied.

        Rule 23(b)(3). Once Rule 23(a) is satisfied, Rule 23(b)(3) requires the Court to find that

 “questions of law or fact common to class members predominate over any questions affecting

 only individual members, and that a class action is superior to other available methods for fairly

 and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Predominance is

 satisfied “when there exists generalized evidence that proves or disproves an element on a

 simultaneous, class-wide basis…Such proof obviates the need to examine each class member’s

 individual position.” Golon v. Ohio Savs. Bank, No. 98-cv-7430, 1999 WL 965593, at *4 (N.D.

 Ill. Oct. 15, 1999). When assessing predominance and superiority, the court may consider that

 the class will be certified for settlement purposes only and that a showing of manageability at

 trial is not required. See Amchem, 521 U.S. at 620.

        Here, there are numerous common questions of law and fact that predominate over any

questions that may affect individual Class Members so as to render a class settlement appropriate.

The common questions resulting from Defendant’s alleged conduct predominate over any

individual issues that may exist and can be answered on a class-wide basis based on common

evidence maintained by Defendant. Plaintiff and putative Class Members allege that they were

uniformly required, as a condition of employment, to scan their fingers into the biometric

timekeeping devices. The question of whether Defendant violated BIPA and of the right of




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Plaintiff to statutory damages can, for provisional certification purposes, be determined for the

entire Class in a single adjudication, without considering individualized issues. See Kurgan, 2014

WL 642092 at *9 (“Where, as here, the focus is on the liability-imposing conduct of the defendant

that is identical for all putative plaintiffs, the predominance element is satisfied.”). Accordingly,

the predominance prong of Rule 23(b)(3) is satisfied for purposes of settlement class provisional

certification.

        Rule 23(b)(3) lists four factors that the Court should consider in taking into account

whether a class action is superior to other methods of adjudicating this action: (a) the class

members’ interests in individually controlling the prosecution or defense of separate actions; (b)

the extent and nature of any litigation concerning the controversy already commenced by or

against class members; (c) the desirability or undesirability of concentrating the litigation of the

claims in the particular forum; and (d) the likely difficulties in managing a class action. Fed. R.

Civ. P. 23 (b)(3)(A)-(D).

        An assessment of the Rule 23(b)(3) “superiority” factors shows that a class action is the

preferred procedure in this case. The superiority requirement is satisfied when “a class action

would achieve economies of time, effort, and expense, and promote . . . uniformity of decision as

to persons similarly situated, without sacrificing procedural fairness or bringing about other

undesirable results.” Driver v. AppleIllinois, 265 F.R.D. 293, 304 (N.D. Ill. 2010), quoting

Amchem, 521 U.S. at 615.

        This case is particularly well suited for class treatment because the claims of Plaintiff and

the proposed Settlement Class Members involve identical alleged violations of a state statute for

the alleged unauthorized collection, storage, use, and dissemination of Class Members’ biometric

data while allegedly failing to comply with BIPA. Absent a class action, most members of the




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Settlement Class would find the cost of litigating their claims – each of which is statutorily limited

to $1,000 per negligent violation of BIPA and $5,000 per reckless violation of BIPA – to be

prohibitive. It is thus unlikely that individuals would invest the time and expense necessary to seek

relief through individual litigation. Moreover, because the Action will now settle, the Court need

not be concerned with issues of manageability relating to trial. When “confronted with a request

for settlement only class certification, a district court need not inquire whether the case, if tried,

would present intractable management problems . . . for the proposal is that there be no trial.”

Amchem, 521 U.S. at 620. Nor should the Court “judge the legal and factual questions” regarding

certification of the proposed Settlement Class by the same criteria as a proposed class being

adversely certified. See GMAC Mortgage Corp. of PA v. Stapleton, 236 Ill. App. 3d 486, 493 (Ill.

App. 1st Dist. 1992).

       A class action is the superior method of resolving large-scale claims if it will “achieve

economies of time, effort, and expense, and promote . . . uniformity of decision as to persons

similarly situated, without sacrificing procedural fairness or bringing about other undesirable

results.” Amchem, 521 U.S. at 615. In sum, because the requirements of Rule 23(a) and Rule

23(b)(3) are satisfied, and thus Rule 23 certification of the proposed Settlement Class for purposes

of settlement is appropriate.

               PRELIMINARY APPROVAL OF THE SETTLEMENT IS WARRANTED

       “Federal courts naturally favor the settlement of class action litigation.” Isby v. Bayh, 75

F.3d 1191, 1196 (7th Cir. 1996) (internal citations omitted); see also Uhl v. Thoroughbred Tech.

& Telecomms., Inc., 309 F.3d 978, 986 (7th Cir. 2002) (“Federal courts favor settlement, so the

district court’s inquiry into the settlement structure is limited to whether the settlement is lawful,

fair, reasonable and adequate.”) (citing Isby, 75 F.3d at 1198-99); Newberg § 11.41 (“The




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compromise of complex litigation is encouraged by the courts and favored by public policy.”). “In

reviewing a proposed settlement the court should consider the judgment of counsel and the

presence of good faith bargaining.” Patterson v. Stovall, 528 F.2d 108, 114 (7th Cir. 1976),

overruled on other grounds by Felzen v. Andreas, 134 F.3d 873 (7th Cir. 1998). Courts usually

refuse to substitute their business judgment for that of counsel, absent fraud or overreaching. Id.

A “presumption of fairness, adequacy, and reasonableness may attach to a class settlement reached

in arm’s-length negotiations between experienced, capable counsel after meaningful discovery.”

Am. Int’l Grp., 2012 WL 651727, at *10 (internal citation and quotation marks omitted).

       The dismissal or compromise of any class action requires the Court’s approval. Fed. R.

Civ. P. 23(e). The decision to approve a proposed settlement is committed to the Court’s sound

discretion. See, e.g., Moore v. Nat’l Ass’n of Sec. Dealers, Inc., 762 F.2d 1093, 1106 (D.C. Cir.

1985) (“Rule 23 places the determination [to approve a proposed settlement] within the sound

discretion of the trial judge who can be sensitive to the dynamics of the situation”). The approval

of any proposed class action settlement is typically exercised in the two-step process of

“preliminary” and “final” approval. Manual for Complex Litigation (Third), § 30.41, at 236

(1995). Although the legal standards for preliminary and final approval overlap, preliminary

approval requires only a threshold finding that the settlement could be approved as fair and

adequate after notice to the class.

       At the preliminary approval stage, the Court’s task is merely to “determine whether the

proposed settlement is within the range of possible approval.” Armstrong v. Bd. of Sch. Dirs. of

Milwaukee, 616 F.2d 305, 314 (7th Cir. 1980) (internal citation and quotation marks omitted)

(noting that at the final fairness hearing, the court will “adduce all information necessary to enable

[it] intelligently to rule on whether the proposed settlement is fair, reasonable, and adequate”),




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overruled on other grounds by Felzen, 134 F.3d; see also Newberg § 11.25 (noting that “[i]f the

preliminary evaluation of the proposed settlement does not disclose grounds to doubt its fairness .

. . and appears to fall within the range of possible approval,” the court should permit notice of the

settlement to be sent to class members) (citations omitted). “The purpose of the initial hearing is

to ascertain whether there is any reason to notify the class members of the proposed settlement and

proceed with a fairness hearing.” Cook v. McCarron, 92 C 7042, 1997 WL 47448, at *7 (N.D. Ill.

Jan. 30, 1997), citing Armstrong, 616 F.2d at 314. Once the settlement is found to be “within the

range of possible approval” at the initial fairness hearing, the final approval hearing is scheduled

and notice is provided to the class. Id.

       Courts in this district perform a “summary version” of the final fairness inquiry at the

preliminary approval stage. See, e.g., In re AT&T, 270 F.R.D. at 346, quoting Kessler v. Am.

Resorts Int’l’s Holiday Network, Ltd., Nos. 05 cv 5944, 07 cv 2439, 2007 WL 4105204, at *5

(N.D. Ill. Nov. 14, 2007). In considering whether to grant preliminary approval of a proposed

settlement agreement, the Court utilizes a “threshold inquiry” intended merely to realize

conspicuous defects. See In re Inter-Op Hip Prosthesis Liab. Litig., 204 F.R.D. 330, 337-38 (N.D.

Ohio 2001). Thus, preliminary approval is warranted:

       If the preliminary evaluation of the proposed settlement does not disclose grounds
       to doubt its fairness or other obvious deficiencies, such as unduly preferential
       treatment of class representatives or of segments of the class, or excessive
       compensation for attorneys, and appears to fall within the range of possible
       approval . . . [.]

Manual for Complex Litigation § 30.41 at 265 (3d ed. 2000). Unless the Court’s initial examination

“discloses[s] grounds to doubt its fairness or other obvious deficiencies,” the Court should order

that notice of a formal fairness hearing be given to class members under Rule 23(e). Id.; Gautreaux

v. Pierce, 690 F.2d 616, 621 n.3 (7th Cir. 1982); In re Traffic Exec. Ass’n-E. R.R., 627 F.2d 631,




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634 (2d Cir. 1980) (a court need only find that there is “probable cause to submit the [settlement]

proposal to class members and hold a full-scale hearing as to its fairness”) (internal quotation

omitted). After preliminary approval, the second step of the approval process is the final

determination, following a hearing at which time any objections by class members may be

considered. The Court then determines whether the settlement is fair, reasonable and adequate

from the standpoint of the class. Newberg § 11.41.

             The Terms of the Settlement Are Fair and Reasonable and Warrant
       Preliminary Approval.

       The Settlement represents a fair and reasonable resolution of the Litigation and is worthy

of notice to and consideration by the Settlement Class Members. It will provide significant

financial relief to Settlement Class Members as compensation for their Released Claims, will

ensure that Defendant’s biometric timekeeping practices comply with BIPA, which will benefit

both Settlement Class Members and future employees, and will relieve the Parties of the burden,

uncertainty, and risk of continued litigation.

       A court generally will preliminarily approve a proposed class settlement if it is “fair,

reasonable, and adequate.” Fed. R. Civ. P. 23(e)(1)(C); Synfuel Techs., Inc. v. DHL Express (USA),

Inc., 463 F.3d 646, 652 (7th Cir. 2006). Although the Court’s task on a motion for preliminary

approval is merely to perform an “initial evaluation,” Newberg § 11.25, to determine whether the

settlement falls within the range of possible final approval, or “the range of reasonableness,” id. at

§ 11.26, it is useful to consider the criteria on which the Court will ultimately judge the settlement.

       In making these determinations, courts consider five factors: (1) the strength of the

plaintiffs’ case compared to the terms of the proposed settlement; (2) the likely complexity, length

and expense of continued litigation; (3) the amount of opposition to settlement among affected

parties; (4) the opinion of competent counsel; and (5) the stage of the proceedings and the amount



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of discovery completed. Synfuel, 463 F.3d at 653; Isby, 75 F.3d at 1199. Further, a court must view

the settlement in its entirety, rather than focus on an individual component. Id. Finally, a strong

presumption of fairness exists when the settlement is the result of extensive arm’s-length

negotiations. Hispanics United of DuPage Cty. v. Vill. of Addison, Ill., 988 F. Supp. 1130, 1150

(N.D. Ill. 1997). All of these factors weigh in favor of approval of the Settlement Agreement and

preliminary approval.

                 i.     The Settlement Amount Is Substantial Given the Strengths of
                        Plaintiff’s Claims and Attendant Risks (First Factor).


       Defendant has agreed to settle this case for $3,491,100.00 for a class of 3,879 employees.

Exhibit 1, ¶¶ 5, 36, 43(a). The settlement amount, therefore, represents significant value for these

Class Members – a gross amount of $900.00 per Settlement Class Member, less pro rata reductions

for Class Counsel’s Fee Award, Service Award to the Class Representative and Administrative

Expenses, or approximately $570.

       In evaluating the strength of the plaintiffs’ case on the merits as compared to the amount

of the proposed settlement, courts refrain from reaching conclusions on issues which have not been

fully litigated. Patterson, 528 F.2d at 114 (collecting cases). Courts “have been admonished to

refrain from resolving the merits of the controversy of making a precise determination of the

parties’ respective legal rights.” EEOC v. Hiram Walker & Sons, Inc., 768 F.2d 884, 889 (7th Cir.

1985). Because “[t]he essence of settlement is compromise,” Id., courts should not reject a

settlement “solely because it does not provide a complete victory to the plaintiffs.” Isby, 75 F.3d

at 1200; see also Armstrong, 616 F.2d at 315 (noting that “the essence of a settlement is

compromise[,] an abandonment of the usual total-win versus total-loss philosophy of litigation in

favor of a solution somewhere between the two extremes”). Parties to a settlement benefit by

immediately resolving the litigation and receiving “some measure of vindication for [their]


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position[s] while foregoing the opportunity to achieve an unmitigated victory. Thus, the parties to

a settlement will not be heard to complain that the relief afforded is substantially less than what

they would have received from a successful resolution after trial.” Hiram Walker, 768 F.2d at 889

(internal citations omitted).

        The outcome of this Action is far from certain. In addition to any defenses on the merits

Defendant would raise, Plaintiff would also otherwise be required to prevail on a class certification

motion, which is highly contested and for which success is certainly not guaranteed. See Schulte

v. Fifth Third Bank, 805 F. Supp. 2d 560, 586 (N.D. Ill. 2011) (“Settlement allows the class to

avoid the inherent risk, complexity, time and cost associated with continued litigation”) (internal

citations omitted). “If the Court approves the [Settlement], the present lawsuit will come to an end

and [Settlement Class Members] will realize both immediate and future benefits as a result.” Id.

Approval would allow Plaintiff and the Settlement Class Members to receive meaningful and

significant payments now, instead of years from now or never. Id. at 582.

       While Plaintiff believes she would likely prevail on her claims, she is also aware that

Defendant has expressed a firm denial of her material allegations and the intent to pursue a number

of substantial legal and factual defenses, including but not limited to whether BIPA is

unconstitutional, whether Plaintiff asserted an intentional or reckless BIPA violation sufficient to

confer statutory damages, whether Plaintiff’s or Class Members’ claims are barred by the statute

of limitations, and whether the devices at issue collect biometric identifiers and/or information, as

defined by BIPA. If successful, these defenses could result in Plaintiff and the proposed Settlement

Class Members receiving no payment whatsoever. This risk is readily apparent, given the number

of other legal and factual issues that have gone untested to date without controlling legal authority.

Taking these realities into account and recognizing the risks involved in any litigation, the




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monetary relief available to each Settlement Class Member in the Settlement represents a truly

excellent result for the Settlement Class.

        Here, the Settlement provides far more than “a fraction of the potential recovery.” Though

not providing a maximum value that conceivably might be awarded at trial at a later date, assuming

Plaintiff overcame Defendant’s anticipated summary judgment motion and objections to class

certification, the Settlement provides substantial monetary benefits now, without the time,

difficulties, expense, and uncertainty of further litigation and without the years of delay any appeal

might cause. See Mars Steel Corp. v. Continental Ill. Nat’l Bank & Trust, 834 F.2d 677, 682 (7th

Cir. 1987) (a settlement is fair “if it gives [plaintiffs] the expected value of their claim if it went to

trial, net the costs of trial”); Hiram Walker, 768 F.2d at 891 (settlement approved where “there

[was] no showing that the amounts received by the beneficiaries were totally inadequate”).

        “District courts enjoy broad supervisory powers over the administration of class-action

settlements to allocate the proceeds among the claiming class members . . . equitably.” In re "Agent

Orange" Product Liability Litigation, 818 F.2d 179, 181 (2d Cir. 1987) (internal quotes and

citation omitted). The allocation of a settlement fund among competing claimants is one of the

court’s traditional equitable functions. Curtiss-Wright Corporation v. Helfand, 687 F.2d 171, 174

(7th Cir. 1982). In exercising its equitable power, a court has the discretion to favor those class

members who have relatively stronger legal claims. See Equity Funding Corp. of America

Securities Litigation, 603 F.2d 1353, 1366-67 (9th Cir. 1979) (upholding a plan of allocation in

which those class members with stronger claims received more than those with weaker claims).

        In determining the allocation method, the Parties considered, among other things, the

uncertainty in the law surrounding BIPA. Accordingly, each Settlement Class Member will receive

the gross amount of $900.00, less pro rata reductions for Class Counsel’s Fee Award, a Service




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Award to the Class Representative and Administrative Expenses, or approximately $570. Exhibit

1, ¶ 44. Settlement Class Members will not have to submit a claim form or otherwise “opt-in” to

the Class to receive a settlement payment. Id. ¶ 45. Checks to the Settlement Class Members shall

remain valid and negotiable for 180 days from the date of their issuance, and thereafter shall

become void if not cashed within that time period. Id. ¶¶ 46, 51(d). Within 75 days of issuance of

settlement checks, the Claims Administrator shall provide a list of any settlement checks that are

not cashed/negotiated within 60 days of issuance to Counsel for the Parties. Id. Within 10 days

thereafter, the Settlement Administrator shall attempt to confirm or obtain valid mailing addresses,

including by telephone, and send a reminder post-card to affected Class Members. Id. At the

conclusion of the 180-day period, the Settlement Administrator shall provide a list of any

settlement checks that are not then cashed/negotiated to Counsel for the Parties. Id. Within 10 days

of the expiration of the 180-day period, the Settlement Administrator shall transfer such uncashed

funds to Illinois Legal Aid Online as a cy pres. Id. The Settlement Administrator will include

language on all settlement checks stating that such checks are void 180 days following the date

such checks are originally issued. Id.

       The proposed Settlement thus ensures that the Class Members will receive significant

monetary relief and receive a settlement amount that is reasonable and consistent with the

established facts as applied to the governing law. Weighing the benefits of the Settlement against

the available evidence and the risks associated with proceeding in the Action, the settlement

amount is reasonable. This factor therefore weighs in favor of preliminary approval.

                 ii.   Litigation Through Trial Would Be Complex, Costly, and Long
                       (Second Factor).


       By reaching a favorable settlement prior to dispositive motions or trial, Plaintiff seeks to

avoid significant expense and delay, and instead ensure recovery for the class. “[A]n integral part


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of the strength of a case on the merits is a consideration of the various risks and costs that

accompany continuation of the litigation.” Donovan v. Estate of Fitzsimmons, 778 F.2d 298, 309

(7th Cir. 1985). Although Class Counsel believes Plaintiff’s case is strong, it is subject to

considerable risks and costs if the case is not settled, as discussed above.

        Continued litigation carries with it a decrease in the time value of money, for “[t]o most

people, a dollar today is worth a great deal more than a dollar ten years from now.” Reynolds v.

Beneficial Nat’l Bank, 288 F.3d 277, 284 (7th Cir. 2002); see also Fitzsimmons, 778 F.2d at 309

n.3; Seiden v. Nicholson, 72 F.R.D. 201, 208 (N.D. Ill. 1976) (“If this case had been litigated to

conclusion, all that is certain is that plaintiffs would have spent a large amount of time, money and

effort.”).

        Here, further litigation would certainly result in fully briefed motions for summary

judgment on liability, as well as other issues, and the risk, time, and expense associated with a

complex trial, or trials, for damages. Any judgment would likely be appealed, further extending

the Action. These costs of further litigation are considerable in terms of both time and money but

would not reduce the risks that the Litigation holds for the Class. See Isby, 75 F.3d at 1199. The

proposed Settlement, on the other hand, provides immediate benefits for all Class Members. Under

these circumstances, the benefits of a guaranteed recovery today as opposed to an uncertain result

in the future, are readily apparent. As one court noted, “[t]he bird in the hand is to be preferred to

the flock in the bush and a poor settlement to a good litigation.” Rubenstein v. Republic Nat’l Life

Ins. Co., 74 F.R.D. 337, 347 (N.D. Tex. 1976). This factor therefore weighs in favor of preliminary

approval.




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                iii.   The Reaction of the Class Has Been Positive (Third Factor).


       Because the Parties have not yet sent the Class Notice, it is premature to fully assess this

factor. In re AT&T, 270 F.R.D. at 349. However, Plaintiff supports the Settlement, as does Class

Counsel. The Court should more fully analyze this factor after notice issues and Class Members

are given the opportunity to object.

                iv.    Competent Class Counsel Endorse this Agreement (Fourth Factor).


       Courts are “entitled to rely heavily on the opinion of competent counsel.” Gautreaux, 690

F.2d at 634, quoting Armstrong, 616 F.2d at 325); see also Isby, 75 F.3d at 1200. Further, there is

no indication that the proposed Settlement Agreement is the result of collusion. See Id.

       Class Counsel are competent and experienced in class actions, particularly complex class

actions of this kind, and are intimately familiar with the strengths and weaknesses of the claims

and defenses. See Jenkins Decl. ¶¶ 7, 14. Using that litigation experience and their intimate

knowledge of the facts of the case and the legal issues facing the Class Members, Class Counsel

were capable of making, and did make, well informed judgments about the value of the claims,

the time, costs and expense of protracted litigation, discovery, and appeals, and the adequacy of

the Settlement reached. Id. ¶ 14. This factor therefore weighs in favor of preliminary approval.

                 v.    Discovery Has Advanced Far Enough to Allow the Parties to Resolve
                       the Case Responsibly (Fifth Factor).


       This complex class action was resolved less than three years after it was initiated. This

period involved research, analysis, investigation, formal discovery, the informal exchange of

information, and extensive negotiations culminating in a full-day mediation with Hon. Morton

Denlow (Ret.) of JAMS. See Jenkins Decl. ¶¶ 7, 14. The stage of litigation has advanced to a state

that Class Counsel could fairly and fully evaluate the value of the Settlement. Id. Given the


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significant amount of time and resources spent by the Parties in discovery and advancing the

Action, this factor favors preliminary approval. The factors all weigh in favor of issuing

preliminary approval of the settlement. In the event that a substantial number of objectors come

forward with meritorious objections, the Court may reevaluate its determination at the Final

Approval Hearing.

              The Settlement Was the Result of Arm’s-Length Negotiations, Without Any
       Hint of Collusion.

       There is plainly no collusion or fraud with respect to this proposed Settlement, which was

reached after intense negotiation over the course of several weeks. As a distinguished commentator

on class actions has noted:

       There is usually an initial presumption of fairness when a proposed class settlement,
       which was negotiated at arm’s length by counsel for the class, is presented for court
       approval.

Newberg §11.41 at 11-88; see also City P’ship Co. v. Atl. Acquisition Ltd. P’ship, 100 F.3d 1041,

1043 (1st Cir. 1996). In this case, as explained above, the terms of the Settlement were reached

during extensive arm’s-length negotiations by experienced counsel after thorough investigation,

discovery, analysis, and motion practice. Therefore, this Court should find that an initial

presumption of fairness exists to support preliminary approval of the Settlement.

       In sum, the Settlement, on its face, is fair, reasonable, and adequate, and not the product of

collusion. See Isby, 75 F.3d at 1198, 1200. In addition, “the proposed settlement is ‘within the

range of possible approval’” and should be submitted to the Class Members for their consideration.

Armstrong, 616 F.2d at 314. The Court should grant preliminary approval.




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               THE PROPOSED CLASS NOTICE SHOULD BE APPROVED.

       The content of the proposed Class Notice, which is attached to the Settlement Agreement

as Exhibit A, fully complies with due process and Federal Rule of Civil Procedure 23. Pursuant to

Rule 23(c)(2)(B), notice must provide:

       [T]he best notice practicable under the circumstances, including individual notice
       to all members who can be identified through reasonable effort. The notice must
       clearly and concisely state in plain, easily understood language: (i) the nature of the
       action; (ii) the definition of the class certified; (iii) the class claims, issues, or
       defenses; (iv) that a class member may enter an appearance through an attorney if
       the member so desires; (v) that the court will exclude from the class any member
       who requests exclusion; (vi) the time and manner for requesting exclusion; and (vii)
       the binding effect of a class judgment on members under Rule 23(c)(3).

Fed. R. Civ. P. 23(c)(2)(B). The detailed information in the proposed Class Notice far exceeds this

bare minimum and fully complies with the requirements of Rule 23(c)(2)(B).

       The Settlement Agreement provides that Class Notice will be mailed by the Settlement

Administrator to the last known mailing and email address of each Class Member within 14 days

of receipt of the complete Class List. Exhibit 1, ¶ 50(b). For all mailings returned as undeliverable,

the Settlement Administrator shall perform a reverse look-up to find updated addresses and will

cause the Notice mailing to be re-mailed to those members of the Settlement Class. Id. The

proposed Class Notice contains information about how to exclude oneself from or object to the

Settlement. See Exhibit A to the Settlement Agreement. Class Members will have up to and

including 45 days from the date the Notice is mailed and emailed to exclude themselves from the

Settlement. Exhibit 1, ¶¶ 27, 59(a). The Class Notice further explains that, after the Settlement

Agreement receives Final Approval and after any appeals, Class Members will receive a settlement

check and will have waived their BIPA claims and related causes of action. See Exhibit A to the

Settlement Agreement.




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            PRELIMINARY APPROVAL OF PLAINTIFF’S COUNSEL’S
        REASONABLE FEES AND COSTS IS APPROPRIATE

        In the Seventh Circuit, the favored approach to awarding reasonable attorneys’ fees in class

litigation is as a percentage of the common fund. See Matter of Cont’l Ill. Secs. Litig., 962 F.2d

566, 572-74 (7th Cir. 1992), later proceeding, 985 F.2d 867 (7th Cir. 1993). To determine what

percentage of the fund should be awarded, the court looks to the market price for legal services,

which has traditionally ranged from 33.3% to 40% in comparable litigation. See Teamsters Local

Union No. 604 v. Inter-Rail Transp., Inc., No. 02 Civ. 1109, 2004 WL 768658, at *1 (S.D. Ill.

Mar. 19, 2004).

        Although there are two ways to compensate attorneys for successful prosecution of

statutory claims—the lodestar method and the percentage of the fund method (see Florin v.

Nationsbank of Ga., N.A., 24 F.3d 560, 565-66 (7th Cir. 1994))—the trend in this Circuit is to use

the percentage of the fund method in common fund cases like this one. Castillo v. Noodles & Co.,

No. 16-CV-03036, 2016 WL 7451626, at *5 (N.D. Ill. Dec. 23, 2016) (“Courts routinely hold that

one-third of a common fund is an appropriate attorneys’ fees award in class action settlement,

including wage and hour settlements.”); see also Campbell v. Advantage Sales & Mktg. LLC, No.

09 Civ. 1430, 2012 WL 1424417, at *2 (S.D. Ind. Apr. 24, 2012) (approving award totaling one-

third of the maximum settlement payment plus costs in FLSA settlement). In fact, the Seventh

Circuit has cast doubt on the continued relevance of the lodestar method. See Redman v.

RadioShack Corp., 763 F.3d 622, 633 (7th Cir. 2014) (rejecting justification for attorneys’ fees

based on “amount of time that class counsel reported putting in on the case,” and stating “the

reasonableness of a fee cannot be assessed in isolation from what it buys”). 3 Further, the Supreme



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  The trend in other circuits is to use the percentage of the fund method as well. See Wal-Mart
Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 121 (2d Cir. 2005) (“the trend in this circuit is toward


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Court has recognized that a percentage fee award is properly granted from the value of the total

benefit that class counsel has created, and therefore necessarily includes the pool of money made

available for class members. Boeing Co. v. VanGemert, 444 U.S. 472, 479-480 (1980) (“a litigant

or lawyer who recovers a common fund for the benefit of persons other than himself or his client

is entitled to a reasonable attorney’s fee from the fund as a whole”).

       Accordingly, Plaintiffs’ counsel requests that the Court grant preliminary approval of a Fee

Award of $1,162,536.30, inclusive of all past and anticipated future attorneys’ fees, which

represents 33.3% of the Settlement Fund, plus an additional amount for expenses not to exceed

$15,000.00.

                                         CONCLUSION

       While the Parties believe the Settlement merits Final Approval, the Court need not make

that determination at this time. The Court is being asked only to permit notice of the terms of the

Settlement to be sent to the Class and to schedule a hearing, under Federal Rule of Civil Procedure

23(e), to consider any views expressed by Class Members of the fairness of the Settlement, the

benefits to be received by Class Members, and Class Counsel’s request for a Fee Award. See 5

James Wm. Moore, Moore’s Federal Practice ¶ 23.80[1], at 23-36 (3d ed. 2001). For the reasons

set forth above, Plaintiff respectfully requests that the Court grant this Unopposed Motion for

Preliminary Approval of Class Action Settlement and enter the Proposed Order, attached as

Exhibit 4.

Date: August 5, 2022                                  Respectfully Submitted,

                                                      /s/ Haley R. Jenkins


the percentage method”); see also In re Cendant Corp. PRIDES Litig., 243 F.3d 722, 732 (3d Cir.
2001) (“[t]he percentage-of-recovery method is generally favored in cases involving a common
fund”), citing In re Prudential, 148 F.3d 283, 333 (3d Cir. 1998) (internal quotation marks
omitted).


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                                    CERTIFICATE OF SERVICE

       I, the attorney, hereby certify that on August 5, 2022, I filed the attached with the Clerk of

the Court using the ECF system, which will send such filing to all attorneys of record.



                                                                     /s/ Haley R. Jenkins




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